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     MICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
 2   2377 Gold Meadow Way, Suite 100
     Gold River, CA 95670
 3   Telephone: 916-732-7150
     Attorneys for Defendant
 4   Aleksandr Lastovskiy
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                ) Case No.: 2:12-CR-00322-MCE
     UNITED STATES OF AMERICA,                    )
10                                                ) STIPULATION AND ORDERTO MODIFY
                    Plaintiff,                    ) CONDITIONS OF RELEASE
11                                                )
            v.                                    )
12                                                )
     ALEKSANDR LASTOVSKIY,                        )
13                                                )
                    Defendant.                    )
14
15          It is hereby stipulated between the parties, Heiko Coppolla, Assistant United
16
     States Attorney, Michael Chastaine, attorney for Aleksandr Lastovski, Joseph Welch,
17
     attorney for Tatyana Shvets, Scott Tedmon, attorney for Aleksandr Mikhaylov and
18
19   Richard Nahigian, attorney for Hovik Mkrtchian, that the status conference date of
20
     Thursday, June 20, 2014 should be continued until Thursday September 4, 2014. The
21
     continuance is necessary as counsel for Ms. Shvets has recently entered the case and
22
23   counsel for all parties are still reviewing discovery, meeting with their respective clients
24   and investigating information as well as researching various possible resolutions.
25
            IT IS STIPULATED that the period of time from the June 12, 2014 up to and
26
27   including September 4, 2014 be excluded in computing the time within which the trial
28   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and


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     Local Code T4, for ongoing preparation of counsel. It is further stipulated that the need
 1
 2   for a continuance and continued counsel preparation outweighs the interests of the public
 3
     and the defendant in a speedy trial.
 4
 5   .

 6   Dated: June 11, 2014                      By: ____/s/ Michael Chastaine
                                               MICHAEL CHASTAINE
 7                                             Attorney for Aleksandr Lastovskiy
 8
 9   Dated: June 11, 2014                      By: ____/s/ Joseph Welch
                                               JOSEPH WELCH
10                                             Attorney for Tatyana Shvets
11
12   Dated: June 11, 2014                      By: ____/s/ Scott Tedmon
                                               SCOTT TEDMON
13                                             Attorney for Aleksandr Mikhaylov
14
15   Dated: June 11, 2014                      By: ____/s/ Richard Nahigian
                                               RICHARD NAHIGIAN
16                                             Attorney for Hovik Mkrtchian
17
18   Dated: June 11, 2014                      BENJAMIN B. WAGNER
19                                             United States Attorney

20                                             By: /s/ Heiko Coppolla___
21                                                     HEIKO COPPOLLA
                                                       Assistant U.S. Attorney
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 1                                             ORDER
 2          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
 3          IT IS HEREBY ORDERED that the status conference scheduled for Thursday,
 4   June 20, 2014 at 9:00 a.m. be continued to Thursday, September 4, 2014 at 9:00 a.m. and
 5   that the period from June 12, 2014 to September 4, 2014 is excludable from calculation
 6   under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4.
 7   Further, that the need for a continuance and continued counsel preparation outweighs the
 8   interests of the public and the defendant in a speedy trial.
 9   Dated: June 19, 2014
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